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IN THE UNITED sTATEs DISTRICT coURT 05\'~>'~ 27 PH J- §_

FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION

 

 

FEDERAL EXPRESS CORPORATION,
Plaintiff,

V.

ACCU-SORT SYSTEMS, INC., NO. 01-2503 Ma/P

Defendant.

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ORDER ON PENDING APPEALS

 

Before the court are four appeals of discovery rulings made in
this case by Magistrate Judge Tu Pham: l) Defendant Accu-Sort,
Systems, Inc.'s (“Accu~Sort”) appeal, filed December 27, 2004, of
the December 22, 2004 order compelling Accu-Sort to produce “earn
out” agreements for specified deponents, 2) Federal Express
Corporation's (“FedEx”} appeal of a January 14, 2005 discovery
order, filed January 19, 2005, 3) FedEx's appeal, filed May 2,
2005, of an April 22, 2005 order granting Accu-Sort's motion to
modify a stipulated protective order and compel response from FedEx
in a 30(b)(6) deposition, and 4) Accu-Sort’s appeal, filed May 25,
2005, of the May 17, 2005 order granting FedEX’s motion for a

protective order as to the deposition of David DeCook. With the

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exception of the appeal filed January 14, 2005, each of the appeals
received. a timely' response fronl the opposing _party. For` the
following reasons, all of the appeals are DENIED, and the
magistrate judge's orders are AFFIRMED.
I. Legal Standard

This court may reject the magistrate judge's decision about a
nondispositive matter only if that decision is “clearly erroneous
or contrary to law.” 28 U.S.C. § 536(b)(l)(A); Fed. R. Civ. P.
72(a). See Massev v. Citv of Ferndale, 7 F.3d 506, 509 (6th Cir.
1993). A decision is clearly erroneous when the court “is left
with the definite and firm conviction that a ndstake has been
committed.” United States v. United States Gypsum Co., 333 U.S.
364, 395 (1948). “[T]he clearly erroneous standard only requires
the reviewing court to determine if there is any evidence to
support the magistrate judge's finding and that the finding was
reasonable.” Tri-Star Airlines, Inc. v. Willis Careen Corp. of Los
Angeles, 75 F. Supp. 2d 835, 839 (W.D. Tenn. l999)(citing Heights

Communitv Congress v. Hilltop Realtv, Inc., 774 F.2d 135, 140 (6th

Cir. 1985).
II. Appeal Filed December 27, 2004

On December 22, 2004, the magistrate judge granted FedEX’s
emergency oral motion to reconsider an earlier order compelling
Accu-Sort to produce information regarding “earn-out” provisions of
the Danaher-Accu-Sort stock acquisition agreement for any witnesses

that might appear at trial. The earn-out provisions in question

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are financial incentives available to various Accu~Sort
shareholders if certain financial targets are met, and they give
those individuals a financial stake in the company and, therefore,
the instant litigation. In deciding the prior motion to compel
production, the magistrate judge found that this stake impacted
witness credibility' and. ordered_.Accu-Sort to produce earn-out
provision terms relating to Accu-Sort shareholders who might
testify at trial. Accu-Sort then represented that it no longer
intended to call any of these witnesses at trial,1 and FedEx filed
the emergency oral motion to reconsider. FedEx argued that, even
if Accu-Sort did not call the shareholders as witnesses at trial,
FedEx might wish to introduce some of the shareholders’ deposition
testimony and that the earn-out provisions were still relevant to
credibility in that respect. The negistrate judge agreed and
ordered Accu“Sort to produce the earn~out provisions only for those

individuals who had already been deposed.

Accu-Sort argues that the evidence sought is irrelevant and/or
duplicative and that the ruling resulted from an improper appeal of
the magistrate judge's prior order. Accu"Sort has failed to show
that the magistrate judge’s finding of relevance is clearly
erroneous. Rule 26(b) allows discovery of any material reasonably
calculated to lead to the discovery of admissible evidence and
grants the trial court discretion to limit discovery. Documents

relevant to the credibility of testimony to be offered at trial are

 

1Because the shareholders were no longer individuals “who might testify
at trial," Accu-Sort did not produce any earn-out provisions.

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discoverable. See, e.g., U.S. v. Nobles, 422 U.S. 225, 231-32
(1975); American Electric Power Co., Inc. v. U.S., 191 F.R.D. 132,
138 (S.D. Ohio 1999). Rather than citing any evidence or law
questioning the magistrate judge's finding of relevance, Accu-Sort
asserts in a conclusory fashion that the earn-out provisions are
not affected by the outcome of this litigation and that no further
evidence is necessary' to show that Accu-Sort shareholders are
biased.2 Such a_ showing is insufficient tc) demonstrate clear

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Accu-Sort further contends that FedEx's emergency oral motion
constituted an appeal of the magistrate judge's prior order in
violation of Local Rule 7.2(a}(1), because it was not accompanied
by a “supporting memorandum of facts and law, and ... a certificate
of service of the motion.” This provision governs the acceptance
of motions by the court clerk; it does not limit the magistrate
judge's discretion in controlling his docket. Further, to the
extent that Accu-Sort’s objection rests on its lack of opportunity
to file a responsive brief, the magistrate judge ruled on the
motion only after holding a hearing. Accu-Sort had an opportunity
to be heard, and the magistrate judge ruled in favor of FedEx. If
the shortened.time frame prevented Accu-Sort from offering argument
or evidence that the earn-out provisions were irrelevant, Accu-Sort
could have made such a showing to this court in the intervening

time. It has not done so. The magistrate judge has broad

 

2Accu-Sort is currently the only party in possession of the earn-out
provisions.

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discretion in the administration of his own docket, and. his
decision to entertain FedEx's motion and hold an emergency hearing
was not clearly erroneous. See, e.g., Clinton v. Jones, 520 U.S.

681, 706 (1997).
III. Appeal Filed January 19, 2005

FedEx objects to the magistrate judge's order granting several
of Accu-Sort’s Hmtions to compel discovery. Several of those
objections are based on the argument that the orders would unduly
delay the proceedings.3 Because the trial has since been
continued, those objections are moot. (See Order Amending Schedule,
February' 9, 2005). Further, FedEx's objection. to the order
compelling production of a Rule 30(b)(6) designee is also moot,
because Accu-Sort deposed that individual on March 3-4, 2005. (See
Accu*Sort's List of Witnesses at 38.) Thus, all objections raised

in the appeal filed January 19, 2005, are MOOT.
IV. Appeal Filed May 2, 2005

FedEx’s May 2 appeal addresses a long discovery dispute about
the extent to which a Rule 30(b)(6) deponent will be allowed to
view documents labeled “Attorney's Eyes Only” (“AEO”). Because
this lawsuit includes confidential, proprietary information, it has

been conducted under a Standing Protective Order (“SPO”). The SPO

 

3 FedEx Objects to the following rulings based on their potential for

delay: 1) granting Accu-Sort's motion for enlargement of the period for Accu~
Sort to serve its Rule 26 expert disclosures, 2) granting Accu-Sort's motion
to amend the stipulated protective order, in furtherance of Accu-Sort's
efforts to depose non-party witnesses in other jurisdictions, and 3) granting
Accu-Sort's motion to extend the discovery period.

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allows a party to limit the viewing of documents deemed to contain
sensitive information to opposing counsel, thereby preventing
opposing parties' access to the documents. At his deposition,
FedEx’s Rule 30(b)(6) designee claimed that he could not answer
certain questions because he had not had an opportunity to review
AEO documents in the possession of Accu-Sort. Thereafter, Accu-
Sort filed a motion to modify the SPO so that FedEx designees could
view AEO documents, conditioned on the consent of intervening party
United Parcel Service, Inc. (“UPS”). The magistrate judge granted
the motion in part, ordering FedEx to provide Accu-Sort and UPS
with a list of AEO documents that FedEx intended to show its
designee(s) in preparation for the deposition. Accu-Sort and UPS
were ordered to respond by May 11, 2005, with any objections they

had to allowing FedEx's designee(s) to review the AEO documents.

FedEx’s first objection appears to be based on the timing of
Accu-Sort’s motion. The nmgistrate judge found, and Accu-Sort
appears to have conceded, that it “could have and should have”
filed the motion earlier. FedEx argues that, given the course of
discovery and the long delay before the filing of its motion, Accu-
Sort should be deemed to have waived its right to depose FedEx's
designee(s) with questions about the AEO materials. Considering
the importance of this material to the lawsuit and the time frame
leading to trial, however, the magistrate judge's ruling was
reasonable. The magistrate judge stressed the importance of the
disputed material to the issues in the trial, and FedEx has offered

no argument to contradict his conclusion. Thus, FedEx has not

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demonstrated_ that the decision, to allow the deposition. to go

forward under the conditions described above was clearly erroneous.

FedEx's other legal basis for objection appears to be that a
compilation of documents deemed by FedEx to be relevant to the
questions posed to its designee constitutes protected attorney work
product. This contention is without merit. First, it does not
appear that FedEx raised the work-product issue at the hearing.q
More importantly, the deposition questions posed and the documents
in dispute are central to the issues at trial and, in particular,
to FedEx’s claim for trade-secret misappropriation.5 A plaintiff’s
attorney's ideas about what facts are relevant to the plaintiff’s
claim may arguably reflect protected mental impressions, opinions,
conclusions, judgments, or legal theories. A court, however, may
order discovery of attorney work product if “the party seeking
discovery has substantial need of the materials in the preparation
of the party's case and ... the party is unable without undue
hardship to obtain the substantial equivalent of the materials by
other means.” Fed. R. Civ. P. 26(b)(3). Such a showing has been
made where “the work product material at issue is central to the
substantive claims in litigation.” Johnson v. Bryco Arms, 2005 WL

469612, at *4 (E.D.N.Y. 2005)(internal quotations omitted). This

 

4 To the extent that a designation of relevant documents may

constitute attorney work product, those documents would likely be disclosed
under Fed. R. Civ. P. 25(a)(3)(C). Because the date of those disclosures is
near, any prejudice to FedEx would be minimal.

5 It is still unclear which material in the possession of Accu-Sort is

deemed by FedEx to be relevant to its claims.

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situation presents such a case. A plaintiff cannot bring a claim
in court and then withhold from the defendant, under the work-
product doctrine, its basic ideas about what facts are relevant to
the claim. For the foregoing reasons, the magistrate judge's order

is not clearly erroneous.
V. Appeal Filed May 25, 2005

On May 17, 2005, four days after holding a hearing on the
matter, the magistrate judge granted FedEx’s motion for a
protective order as to the deposition of David DeCook. AcchSort
disclosed Mr. DeCook as a person with knowledge for the first time
on March 16, 2005. On April 7, 2005, Accu-Sort issued a subpoena
for the deposition of DeCook. The magistrate judge granted FedEx's
motion on the grounds that the disclosure was untimely under the
Federal Rules of Civil Procedure and under this court’s January 25,
2005 order extending discovery. Accu-Sort argues that the sanction

of exclusion is unduly harsh and that DeCook is a crucial witness.

This lawsuit has been pending since June 27, 2001. On January
25, 2005, the COurt held a status conference and continued the
trial to July 18, 2005. The court extended fact discovery to April
15, 2005, only on “pending discovery motions and whatever is in the
Rule 30(b)(6).” Accu-Sort did not name DeCook as a witness or
raise the issue of his deposition at any time before or during the
January 25 conference. Accu-Sort admits that DeCook should have
been identified as a witness before he was and that “his name

appears on or in connection with numerous documents that have been

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produced, including documents that FedEx itself has included on its
preliminary list of trial exhibits.” (Memo. at 3.) Although Accu-
Sort offers this statement to show a lack of prejudice to FedEx, it
demonstrates that Accu-Sort has also had ample opportunity to name

DeCook as a witness.

It is well established that “[a] party that without

substantial justification fails to disclose information required by

Rule 26(a) ... is not, unless such failure is harmless, permitted
to use as evidence at trial ...`any witness ... not so disclosed.”
Fed. R. Civ. P. 37(c)(1). A trial court must “sanction a party for

discovery violations in connection with Rule 26(a) unless the
violations were harmless or were substantially justified.” Sexton
v. Uniroyal Chemical Companv, Inc. R.T., 62 Fed. App. 615, 2003 WL
1870918, at *1 n.1 (6th Cir. 2003). The magistrate judge cited
several cases holding that a party may be denied the opportunity to
obtain discovery if the information is sought after discovery has
closed. See, e.g., Overnite Transportation Co. v. Int'l Brotherhood
of Teamsters, 2001 WL 1910054, at *1 {W.D. Tenn. 2001); Medtronic
Sofamor Danek, Inc. v. Osteotech, Inc., 2001 WL 1910058, at *4
(W.D. Tenn. 2001). That these cases decided motions to compel
discovery rather than motions for protective orders does not

distinguish them from the facts of this case.

The extension of the discovery deadline to April 15, 2005 was
limited to the 30(b)(6) deposition and discovery motions pending at

the time, and no provision was made for the extension of discovery

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as to DeCook.5 Because Accu~Sort had several years to seek
DeCook's testimony, its late attempt at discovery is not justified.
That Accu-Sort long assumed that FedEx would seek testimony from
DeCook does not excuse Accu-Sort from gathering evidence on its own
behalf. Further, because of the long delay in bringing this case
to trial, reopening discovery now would work an undue harm. This
case is not, as contended by Accu-Sort, one in which exclusion of
a witness will “deprive[] an innocent party of their day in court.”
See Freeland v. Amigo, 103 F.Bd 1271, 1281 (6th Cir.
1997)(overturning district court’s exclusion of all expert
witnesses). Several witnesses other than DeCook will be called to
testify on the issue in question. Thus, the magistrate judge's
order granting the motion for a protective order as to the

deposition of David DeCook was not clearly erroneous.

 

éAccu-Sort's argument that DeCook’s testimony will relate to “facts
that are the subject of ... whatever is in the Rule 30(b){6}” misquotes the
court's statements at the January 25 status conference; the quote combines
separate statements made by the court and Mr. Holbrook. The court's actual
statement clearly indicates that discovery is to proceed with the Rule
30(b)(6) deposition itself.

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VI. Conclusion

For the foregoing reasons, all pending appeals are DENIED, and

the magistrate judge's orders that are not moot are AFFIRMED.

so oRDsRED this W\'d\iay of June 2005.

wefm

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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John R. Branson

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Michael W. Higginbotham

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building B.

1\/1emphis7 TN 38125--880

Cynthia .1. Collins

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/1emphis7 TN 38125--880

David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Grady M. Garrison

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
P.O.Box171443

1\/1emphis7 TN 38187--144

Anthony Volpe

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

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John J O'Malley

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

.1. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

John G. Fabiano

WILMER CUTLER PICKERING HALE & DOOR LLP
60 Hale St

13oston7 MA 02109

Stephen R. Cochell
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/1emphis7 TN 38125--880

John Patterson Brumbaugh
KlNG & SPALDING

191 Peachtree St. N.E.
Atlanta, GA 30303--176

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Charles F. Morrow

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Frank 1\/1. Holbrook

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Michael R. Heyison

WILMER CUTLER PICKERING HALE & DOOR LLP
60 State St

13oston7 MA 02109

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Cynthia D Vreeland

WILMER CUTLER PICKERING HALE & DORR LLP
60 State St.

13oston7 MA 02109

Honorable Samuel Mays
US DISTRICT COURT

